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                                                                     PRO HAC VICE APPLICATION,
                                                                   ECF REGISTRATION AND CONSENT
 UNITED STATES DISTRICT COURT                                          TO ELECTRONIC SERVICE,
EASTERN DISTRICT OF CALIFORNIA                                            PROPOSED ORDER

 UNITED STATES OF AMERICA


                                  Plaintiff(s),
                                                    Case No. 2:10-CR-00223 JAM
  v.

  HODA SAMUEL, et al.,

                                 Defendant(s).


         I, Matthew Gilmartin, attorney for HODA SAMUEL, hereby petition for admission to
 practice Pro Hac Vice under the provision of Local Rule 180(b)(2). I understand and consent to
 ECF Registration and Electronic Service as detailed below and I have submitted payment in the
 amount of $200.00 to the Clerk, U.S. District Court.

 In support of this petition, I state under penalty of perjury that:

          My business address is:

 Firm Name:              Matthew Gilmartin, Attorney at Law, LLC_________________________

 Address:                9267 Basswood Dr.__________________________________________

                         _________________________________________________________

 City:                   Olmsted Falls, ______________________________________________

 State:                  Ohio                     ZIP Code: 44138_________________________

 Voice Phone:            ( 440 )_479-8630__________________________________________

 FAX Phone:              ( 440 )_398-0179________________________________________

 Internet E-mail:        matt4g@att.net___________________________________________

 Additional E-mail:      mtglaw@sbcglobal..net______________________________________

 I reside in City:       Olmsted Falls                                 State: Ohio______________
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          I was admitted to practice in the Supreme Court of Ohio (court)

on November 15th, 1982. I was admitted to practice before the Supreme Court of Texas on May
2nd, 2013. I am presently in good standing and eligible to practice in both courts. A certificate of
good standing from the court in my state of primary practice is attached to this application. I am
not currently suspended or disbarred in any other court.

          I have X have not  concurrently or within the year preceding this application made

a pro hac vice application to this court. (If you have made a pro hac vice application to this

court within the last year, list the name and case number of each matter in which an

application was made, the date of application and whether granted or denied.)

U.S.A v. L. Richard Shearer, et al., Case No. 2:12-CV-02334 TLN.

          Application was made on August 15th, 2013, and was granted.


          I hereby designate the following member of the Bar of this Court who is registered for

ECF with whom the Court and opposing counsel may readily communicate regarding the

conduct of the case and upon whom electronic notice shall also be served via the court's ECF

system:

Name:            JIHAD M.SMAILI, ESQ.

Firm Name:       SMAILI & ASSOCIATES., P.C.

Address:         600 West Santa Ana Blvd.
                 West Suite 202


City:            SANTA ANA

State:           CA                    ZIP Code: 92701

Voice Phone: (714)_547-4700_________________________________________________

FAX Phone:        (714)_547-4710________________________________________________

E-mail:          jihad@smaililaw.com_____________________________


Dated:         12/10/2013              Petitioner: _/s/Matthew Gilmartin_______________
                                                   Matthew Gilmartin(TX Bar #2408145)
                                                                    (OH Bar #0024683)
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                                  ORDER

      IT IS SO ORDERED.


Dated: 12/16/2013                             /s/ John A. Mendez___________
                                              JUDGE, U.S. DISTRICT COURT
